  Case 9:16-bk-12433-DS            Doc 142 Filed 10/16/18 Entered 10/16/18 15:32:34                     Desc
                                    Main Document     Page 1 of 5


                                   UNITED STATES BANKRUPTCY COURT
                                    CENTRAL DISTRICT OF CALIFORNIA
                                     Northern(Santa Barbara) DIVISION

In re: AUTEC POWER SYSTEMS INC.                        §         Case No. 9:16-BK-12433
                                                       §
                                                       §
                                                       §
                      Debtor(s)


                                  NOTICE OF TRUSTEE’S FINAL REPORT AND
                                    APPLICATIONS FOR COMPENSATION
                                      AND DEADLINE TO OBJECT (NFR)

          Pursuant to Fed. R. Bankr. P. 2002(a)(6) and 2002(f)(8), please take notice that Sandra K. McBeth,
trustee of the above styled estate, has filed a Final Report and the trustee and the trustee’s professionals have
filed final fee applications, which are summarized in the attached Summary of Trustee’s Final Report and
Applications for Compensation.
        The complete Final Report and all applications for compensation are available for inspection at the
Office of the Clerk, at the following address:

                                            United States Bankruptcy Court
                                                   1415 State Street
                                              Santa Barbara, CA 93101
         A hearing on the Trustee's Final Report and Application for Compensation will be held at 1:30 p.m. on
November 27, 2018, in Courtroom 201, United States Bankruptcy Court, Central District of California
Courthouse, located at 1415 State St., Santa Barbara, CA 93101. Any person wishing to object to any fee
application that has not already been approved, or to the Trustee's Final Report, must file a written opposition
thereto pursuant to Local Rule 9013-1(f) not later than 14 days before the date designated for hearing and
serve a copy of the opposition upon the trustee, any party whose application is being challenged and the
United States Trustee. Untimely objections may be deemed waived. In the absence of a timely objection by the
United States Trustee or other party in interest, the Court may discharge the Chapter 7 Trustee and close the
case without reviewing the Final Report and Account or determining the merits of the Chapter 7 Trustee's
certification that the estate has been fully administered. See Federal Rule of Bankruptcy Procedure 5009.
Date Mailed: 10/16/2018                                    By:: /s/ Sandra K. McBeth
                                                                             Chapter 7 Trustee
Sandra K. McBeth
7343 El Camino Real
#185
Atascadero, CA 93422
(805) 464-2985
smcbeth@mcbethlegal.com




UST Form 101-7-NFR (10/1/2010)
 Case 9:16-bk-12433-DS                 Doc 142 Filed 10/16/18 Entered 10/16/18 15:32:34                               Desc
                                        Main Document     Page 2 of 5



                                       UNITED STATES BANKRUPTCY COURT
                                        CENTRAL DISTRICT OF CALIFORNIA
                                         Northern(Santa Barbara) DIVISION

In re:AUTEC POWER SYSTEMS INC.                                §      Case No. 9:16-BK-12433
                                                              §
                                                              §
                                                              §
                        Debtor(s)


                                     SUMMARY OF TRUSTEE’S FINAL REPORT
                                     AND APPLICATIONS FOR COMPENSATION

                   The Final Report shows receipts of :                              $                        865,080.08
                   and approved disbursements of:                                    $                        555,444.73
                   leaving a balance on hand of1:                                    $                        309,635.35

               Claims of secured creditors will be paid as follows:

  Claim        Claimant            Claim Asserted         Allowed Amount of        Interim Payments to             Proposed
  No.                                                                Claim                       Date               Payment
  2            Citibank, N.A.          500,062.50                 500,062.50                 532,015.99                  0.00

                                                  Total to be paid to secured creditors:          $                     0.00
                                                  Remaining balance:                              $               309,635.35

               Applications for chapter 7 fees and administrative expenses have been filed as follows:
  Reason/Applicant                                                                Total           Interim          Proposed
                                                                              Requested       Payments to           Payment
                                                                                                    Date
  Trustee, Fees - Sandra K. McBeth                                             46,491.50               0.00       46,491.50
  Trustee, Expenses - Sandra K. McBeth                                           1,256.50              0.00         1,256.50
  Charges, U.S. Bankruptcy Court                                                 1,050.00              0.00         1,050.00
  Other State or Local Taxes (post-petition) - FRANCHISE TAX                       800.00              0.00           800.00
  BOARD
  Attorney for Trustee Fees (Other Firm) - Griffith &                          59,720.50               0.00       59,720.50
  Thornburgh, LLP
  Attorney for Trustee Expenses (Other Firm) - Griffith &                        6,714.07              0.00         6,714.07
  Thornburgh, LLP
  Accountant for Trustee Fees (Other Firm) - M. Kathleen Klein,                  2,585.50              0.00         2,585.50
  CPA

           1
            The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest
      earned prior to disbursement will be distributed pro rata to creditors within each priority category. The trustee may
      receive additional compensation not to exceed the maximum compensation set forth under 11 U.S.C. § 326(a) on
      account of the disbursement of the additional interest.

UST Form 101-7-NFR (10/1/2010)
 Case 9:16-bk-12433-DS                Doc 142 Filed 10/16/18 Entered 10/16/18 15:32:34                        Desc
                                       Main Document     Page 3 of 5



  Reason/Applicant                                                            Total            Interim      Proposed
                                                                          Requested        Payments to       Payment
                                                                                                 Date
  Accountant for Trustee Expenses (Other Firm) - M. Kathleen                  113.19              0.00        113.19
  Klein, CPA
  Field Representative/Adjuster for Trustee Expenses - Regis                1,432.50              0.00       1,432.50
  Boyle

                   Total to be paid for chapter 7 administrative expenses:                    $             120,163.76
                   Remaining balance:                                                         $             189,471.59

              Applications for prior chapter fees and administrative expenses have been filed as follows:

  Reason/Applicant                                                      Total             Interim        Proposed
                                                                        Requested         Payments to    Payment
                                                                                          Date

                                                          None

                   Total to be paid for prior chapter administrative expenses:                $                   0.00
                   Remaining balance:                                                         $             189,471.59

                In addition to the expenses of administration listed above as may be allowed by the Court,
       priority claims totaling $29,800.90 must be paid in advance of any dividend to general (unsecured)
       creditors.
                Allowed priority claims are:
  Claim       Claimant                               Allowed Amount        Interim Payments                 Proposed
  No.                                                       of Claim                 to Date                 Payment
  4P          WWPM, Inc.                                   12,850.00                       0.00             12,850.00
  9P          WWPM, Inc.                                         0.00                      0.00                  0.00
  14          Eastern Components Sales                       4,100.90                      0.00              4,100.90
              Corp. Timothy J. Murphy
  16P         Tiger Electronic Inc.                        12,850.00                       0.00             12,850.00

                                                  Total to be paid for priority claims:       $             29,800.90
                                                  Remaining balance:                          $            159,670.69

               The actual distribution to wage claimants included above, if any, will be the proposed
       payment less applicable withholding taxes (which will be remitted to the appropriate taxing
       authorities).
               Timely claims of general (unsecured) creditors totaling $5,764,783.20 have been allowed and
       will be paid pro rata only after all allowed administrative and priority claims have been paid in full. The
       timely allowed general (unsecured) dividend is anticipated to be 2.8 percent, plus interest (if
       applicable).




UST Form 101-7-NFR (10/1/2010)
 Case 9:16-bk-12433-DS                Doc 142 Filed 10/16/18 Entered 10/16/18 15:32:34                   Desc
                                       Main Document     Page 4 of 5


              Timely allowed general (unsecured) claims are as follows:
  Claim       Claimant                             Allowed Amount        Interim Payments             Proposed
  No.                                                     of Claim                 to Date             Payment
  1           Billiontek Group                          204,612.49                   0.00              5,667.28
              c/o Deheng Law Office
  3           Dun & Bradstreet                                61.00                  0.00                     1.69
              c/o RMS Bankruptcy Services
  4U          WWPM, Inc.                                  1,888.52                   0.00                 52.31
  5           FRANCHISE TAX BOARD                              0.00                  0.00                     0.00
  7           FEDEX CORPORATE                             1,210.64                   0.00                 33.53
              SERVICES INC
  8           Vencient Barnes                           102,393.76                   0.00              2,836.06
  9U          WWPM, Inc.                                       0.00                  0.00                     0.00
  10          Super X Manufacturing Ltd                     247.30                   0.00                     6.85
  11          Zon LED, LLC                            2,088,407.15                   0.00             57,843.88
  12          Inventronics USA, Inc.                        762.96                   0.00                 21.13
  13          Inventronics USA, Inc.                     87,630.45                   0.00              2,427.15
  15          Leader Electronics Inc.                   510,140.07                   0.00             14,129.66
  16U         Tiger Electronic Inc.                      52,822.16                   0.00              1,463.04
  17          Winston Gu                                191,000.00                   0.00              5,290.24
  18          Winston Gu                              2,389,266.70                   0.00             66,176.97
  19          Frontier Electronics Corp.                134,340.00                   0.00              3,720.90

                     Total to be paid for timely general unsecured claims:              $             159,670.69
                     Remaining balance:                                                 $                   0.00

               Tardily filed claims of general (unsecured) creditors totaling $303,694.18 have been allowed
       and will be paid pro rata only after all allowed administrative, priority and timely filed general
       (unsecured) claims have been paid in full. The tardily filed claim dividend is anticipated to be 0.0
       percent, plus interest (if applicable).
              Tardily filed general (unsecured) claims are as follows:
  Claim       Claimant                             Allowed Amount        Interim Payments             Proposed
  No.                                                     of Claim                 to Date             Payment
  20          Fethi Sahman c/o Hilaire                  300,000.00                   0.00                     0.00
              McGriff PC
  21          PITNEY BOWES GLOBAL                         3,694.18                   0.00                     0.00
              FINANCIAL SERVICES LLC




UST Form 101-7-NFR (10/1/2010)
 Case 9:16-bk-12433-DS            Doc 142 Filed 10/16/18 Entered 10/16/18 15:32:34                      Desc
                                   Main Document     Page 5 of 5



                   Total to be paid for tardily filed general unsecured claims:        $                      0.00
                   Remaining balance:                                                  $                      0.00

             Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims
    ordered subordinated by the Court totaling $0.00 have been allowed and will be paid pro rata only
    after all allowed administrative, priority and general (unsecured) claims have been paid in full. The
    dividend for subordinated unsecured claims is anticipated to be 0.0 percent, plus interest (if
    applicable).
             Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims
    ordered subordinated by the Court are as follows:

  Claim    Claimant                              Allowed Amount        Interim Payments               Proposed
  No.                                                   of Claim                 to Date               Payment

                                                      None

                                            Total to be paid for subordinated claims: $                       0.00
                                            Remaining balance:                        $                       0.00




                                                Prepared By: /s/ Sandra K. McBeth
                                                                          Chapter 7 Trustee
    Sandra K. McBeth
    7343 El Camino Real
    #185
    Atascadero, CA 93422
    (805) 464-2985
    smcbeth@mcbethlegal.com




    STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
    Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




UST Form 101-7-NFR (10/1/2010)
